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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

CHRISTOPHER C JOHNSON

Plaintiff(s),
Vv.

GREENBURG, GRANT & RICHARDS
INC.

Defendant.

CASE NO. 3:23-cy-5224-BHS

NOTICE OF SETTLEMENT

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1. Plantiff, Christopher C. Johnson, pursuant to Rule 41(a)(1)(A)(i), hereby dismisses

with prejudice all claims and causes of action asserted against defendant, Greenburg,

Grant & Richards INC, in the above numbered captioned action, with each party to

bear its own cost.

Date of signing: ¢~/_ 2» 9 3

Notice OF SETTLEMENT - 1

Leathe,
Christopher C . Johnson
5613 121st Street Court E #1
Puyallup, Wa 98373
206-331-2202

